                            TINITED STATES DISTRICT COURT
                                                                                              -ffiT."
                         WESTERN DISTRICT OF NORTH CAROLINA                                 UUL 7 zas
                                  ASHEVILLE DIVISION
                                                                                          I.?SBtr
                                      DOCKET NO. l:12CR66

LINITED STATES OF AMERICA.                         )
                                                   )
                        Plaintiff,                 )                 PRELIMINARY
                                                   )
                 V.                                )           ORDER OF FORFEITURE
                                                   )
3) NANCY DIRAFFAELE                                )                  BY CONSENT
4) GARY HOFFMAN,                                   )
                                                   )
                        Defendants.                )


          Whereas, on June 20, 2012, the Grand Jury for the Western District of North Carolina

returned a Bill of Indictment against defendants Gary Hoffman and Nancy DiRaffaele, husband

and wife, and other defendants, charging them in Count One with conspiring with possession to

distribute opium poppy, a controlled substance, in violation of 21 U.S.C. S$ 846 and 841(a), and

in Count Two with conspiring under 18 U.S.C. S 1956(h) to commit "promotion" money
laundering under l8 U.S.C. $ 1956(a)(lXAXi), "concealment" money laundering under 18 U.S.C.

$ 1956(a)(1XBXi), and "monetary transaction" (over $10,000) money laundering under 18 U.S.C.

$ 19s7.

          Whereas, the Bill of Indictment included a Notice of Forfeiture and Finding of Probable

Cause, pursuant to l8 U.S.C. $ 982(a)(1) and2l U.S.C. $ 853, of all property involved in, used or

intended to be used to facilitate the charged violations, all proceeds thereof, and substitute property

for, including but not limited to, concerning the property specifically of defendants Gary Hoffman

and Nancy DiRaffaele:




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       a.      a personal money judgment against NANCY DIRAFFAELE and GARY
               HOFFMAN in the amount of $2,081,690.60;

       b.      the sum of approximately $159,582.97 in United States curency frozen in bank
               Account 6981 at Bank of America, Del Tura Plaza,1880 North Tamiami Trail, in
               North For Myers, Florida, on February 10, 201 l;

       c.      the sum of approximately 537,442,74 in United States currency frozen in bank
               Account 4878 at Bank of America, Del Tura Plaza, 1880 North Tamiami Trail, in
               North For Myers, Florida, on February 10,2011;

       d.      the sum of approximately $36,083.22 in United States curency frozen in bank
               Account 40004 at Wachovia Bank, 224 Board Street, Milford, Pennsylvania on
               February 10,2011;

       e.      Real property located at 128 Overbrook Run, Milford, Pike County, Pennsylvania,
               18337, as more particularly described in a deed recorded at book 2345, page 1636,
               in the Pike County, Pennsylvania, public registry.

       Whereas, on May 3,2013, defendants Gary Hoffman and Nancy DiRaffaele, pleaded guilty

without a plea agreement to Count Two of the Bill of Indictment.

       Whereas, the United States intends to dismiss Count One of the Bill of Indictment.

       Whereas, on October 24,2013, the United States filed a Motion for a Preliminary Order of

Forfeiture, and on August 13,2014, a Supplemental Motion for a Preliminary Order of Forfeiture

concerning the above-described property.

       Whereas, on October 1,2074, defendants Gary Hoffman and Nancy DiRaffaele filed a

Joint Response to the United States' Supplemental Motion for a Preliminary Order of Forfeiture.

       Whereas, the United States and defendants Gary Hoffrnan and Nancy DiRaffaele have

agreed to a settlement concerning the property described in the Notice of Forfeiture and Finding

of Probable Cause.

       Whereas, Defendants Gary Hoffman and Nancy DiRaffaele have stated that they have no

assets with which to pay a money judgment and have agreed that proceeds ofthe specified unlawful




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activity - the money laundering offense in Count Two, to which they have pleaded guilty -- were

co-mingled with other deposits in the three above-described bank accounts:



       b.      the sum of approximately $159,582.97 in United States currency frozen in bank
               Account 6981 at Bank of America, Del Tura Plaza, 1880 North Tamiami Trail, in
               North For Myers, Florida, on February l0,20ll;

       c.      the sum of approximately 531,442,74 in United States curency frozen in bank
               Account 4878 at Bank of America, Del Tura Plaza,1880 North Tamiami Trail, in
               North For Myers, Florida, on February 70,2011;

       d.      the sum of approximately 536,083.22 in United States culrency frozen in bank
               Account 40004 at Wachovia Bank, 224 Board Street, Milford, Pennsylvania on
                February 10, 2011.

       Whereas, the parties have agreed that defendants Gary Hoffman and Nancy DiRaffaele are

the sole owners of the said three sums of currency.

       Whereas, the United States has agreed to dismiss the Notice of Forfeiture and Finding of

Probable Cause in the Bill of Indictment against the following assets:

       a.      a personal money judgment against NANCY DIRAFFAELE and GARY
               HOFFMAN in the amount of $2,081 ,690.60;

       e.      Real property located at 128 Overbrook Run, Milford, Pike County, Pennsylvania,
               18337, as more particularly described in a deed recorded at book 2345, page 1636,
               in the Pike County, Pennsylvania, public registry.

       Whereas, the United States has agreed to dismiss the Complaints in the related civil-

forfeiture cases of United States v. $36,083.22,1:l lcvl45, and United States v. 128 Overbrook

Run,l:12cv28.

       Whereas, based upon the Bill of Indictment, the guilty pleas of defendants Gary Hoffman

and Nancy DiRaffaele, and the agreements and representations of the parties, the requisite nexus

between the three above described sums of money and the offenses to which the defendants have




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pleaded guilty is established.

         Whereas, the agreements in this Settlement Order pertain only to forfeiture and have no

effect on the freedom of either party to put forth arguments concerning loss amounts under the

Guidelines at sentencing.

        It is therefore ORDERED:

         1. Pursuant to l8 U.S.c. g 982(a)(l), 21 u.s.c. S 853, and Fed. R. crim P.32.2(b),the
following property is hereby forfeited to the United States for disposition according to law,

subject to the provisions of 21 U.S.C. g 853(n):

        b.      the sum of approximately $159,582.97 in United States cuffency frozen in bank
                Account 6981 at Bank of America, Del Tura Plaza, 1880 North Tamiami Trail, in
                North For Myers, Florida, on February 10,2011

        c.      the sum of approximately $31,442,74 in United States currency frozen in bank
                Account 4878 at Bank of America, Del Tura Plaza, 1880 North Tamiami Trail, in
                North For Myers, Florida, on February 10,2011;

        d.      the sum of approximately $36,083.22 in United States currency frozen in bank
                Account 40004 at Wachovia Bank, 224 Board Street, Milford, Pennsylvania on
                February 10, 201 l.

        2. The Attorney General (or his designee) is authorized to seize the forfeited property
subject to forfeiture; to conduct any discovery proper in identifying, locating, or disposing of the

property; and to commence proceedings that comply with any statutes governing third party rights.

Fed. R. Crim. P.32.2(b)(3).

        3. Pursuant to 2l U.S.C. $ 853(n)(1) and Fed. R. Crim. P.32.2(b)(6), the United States
shall post on an official govemment internet site (www.forfeiture.gov), for at least 30 consecutive

days, notice of this order and of its intent to dispose of the property in such a manner as the United

States may direct. The United States may also, to the extent practicable, provide direct written

notice of this forfeiture.




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          4. Any person, other than the defendant, having or claiming a legal interest in any of the
above-listed forfeited property may, within thirty days of the final publication of notice or of

receipt of actual notice, whichever is earlier, petition the Court for a hearing without a jury to

adjudicate the validity of the petitioner's alleged interest in the property, and for an amendment of

the order of forfeiture pursuant to 21 U.S.C. $ 853(n). The petition shall be signed by the petitioner

under penalty of perjury and shall set forththe nature and extent of the petitioner's right, title or

interest in each ofthe forfeited properties; the time and circumstances of the petitioner's acquisition

of the right, title, or interest in the property; and any additional facts supporting the petitioner's

claim and the relief sought.2l U.S.C. S 853(nX2) and (3).

          5. After the disposition of any motion filed under Fed. R. Crim P. 32.2(c)(l)(A) and
before a hearing on the petition, discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

issues.

          6. This Preliminary Order of Forfeiture shall become hnal as to the defendant at the time
of entry. If no third party files a timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed. R. Crim. P.32.2(c)(2).

          7. Upon adjudication of third-party interests, if any, this Court will enter a Final Order of
Forfeiture pursuant to 21 U.S.C. S 853(n) and Fed. R. Crim. p.32(c)(2).

          8. The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,
pursuant to Fed. R. Crim. P.32.2(e).

          IT IS FURTHER ORDERED that the Notice of Forfeiture in the Bill of Indictment and all

forfeiture allegations by the United States are dismissed against the following two properties:

          a.     a personal money judgment against NANCY DIRAFFAELE and GARY
                                                                                                     5




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                HOFFMAN in the amount of $2,081,690.60;

       e.       Real property located at 128 Overbrook Run, Milford, Pike County, Pennsylvania,
                18337, as more particularly described in a deed recorded at book 2345,page 1636.
                in the Pike County, Pennsylvania, public registry.

       IT IS SO ORDERED.




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                                                Date
            Nancv DiRaffaele
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Anne Tompkins
United States Attorney




Assistant United States Attorney
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       rhis 1 day of JuL                      tr;

                                                          REIDING
                                                                       TRICT JUDGE




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